  Case 14-74944-lrc        Doc 65     Filed 10/24/19 Entered 10/24/19 07:47:49            Desc
                                            Page 1 of 6


                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                            )
                                                  ) CHAPTER 13
ERIK A MIRANDA                                    )
                                                  ) CASE NO.: 14-74944-LRC
         DEBTOR                                   )
                                                  )

                CHAPTER 13 TRUSTEE'S NOTICE OF COMPLETED PLAN
                       (11 U.S.C. § 522(q)(1) MAY NOT APPLY)

        COMES NOW, Melissa J. Davey, Standing Chapter 13 Trustee, in the above-styled
action and files this Notice of Completed Plan, and respectfully shows the Court the following:

      The Chapter 13 Trustee has verified that each Debtor in this case has completed
payments to creditors pursuant to the terms of the confirmed plan.

        1. Each Debtor shall complete and file with the Court or return to their attorney
for filing with the Court the attached Debtor’s 11 U.S.C. § 1328 Certificate concerning
domestic support obligations and previous discharges.

       2. Each Debtor must file a certificate of completion of an approved instructional
course concerning personal financial management.

       Each Debtor has 45 days from the date of this notice to file the required documents.
If each Debtor fails to file all of the documents, the Court may close the case without a
discharge.

         The Trustee does not believe that 11 U.S.C. § 522 (q)(1) applies in this case.

        The Chapter 13 Trustee respectfully requests that this Court review this case to determine
if each Debtor is eligible for discharge and whether all requirements of 11 U.S.C. § 1328 have
been met, and if appropriate, enter an Order of Discharge.

       The Chapter 13 Trustee’s Final Report and Account will be submitted as soon as all
payments made to creditors on behalf of Debtor in this case have been negotiated and no
outstanding disbursements remain. This case will remain open, pending receipt of the Chapter
13 Trustee’s Final Report and Account and an Order discharging the Trustee is entered.
 Case 14-74944-lrc      Doc 65    Filed 10/24/19 Entered 10/24/19 07:47:49   Desc
                                        Page 2 of 6


Respectfully Submitted October 24, 2019.

/s/ MELISSA J. DAVEY
MELISSA J. DAVEY
STANDING CHAPTER 13 TRUSTEE
STATE BAR NO. 206310
Standing Chapter 13 Trustee
260 PEACHTREE STREET N.W.
SUITE 200
Atlanta, GA 30303
(678)510-1444
  Case 14-74944-lrc      Doc 65    Filed 10/24/19 Entered 10/24/19 07:47:49           Desc
                                         Page 3 of 6


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                          )
                                                ) CHAPTER 13
ERIK A MIRANDA                                  )
                                                ) CASE NO.: 14-74944-LRC
         DEBTOR                                 )
                                                )

                               CERTIFICATE OF SERVICE

        This is to certify that I have on this day electronically filed the foregoing Notice of
Completed Plan using the Bankruptcy Court’s Electronic Case Filing program, which sends a
notice of this document and an accompanying link to this document to the following parties who
have appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

Lisa F. Caplan lcaplan@rubinlublin.com,
nbrown@rubinlublin.com;akhosla@rubinlublin.com;mhashim@rubinlublin.com;ruluecf@gmail.com;BK
RL@ecf.courtdrive.com
Lisa F. Caplan lcaplan@rubinlublin.com,
ruluecf@gmail.com;akhosla@rubinlublin.com;nbrown@rubinlublin.com;mhashim@rubinlublin.com;RU
LUECF@GMAIL.COM;BKRL@ecf.courtdrive.com
Abbey Ulsh Dreher ga.nd.ecf@BDFGroup.com
Travis E. Menk travis.menk@brockandscott.com,
gabkr@brockandscott.com;wbecf@brockandscott.com
Howard P. Slomka se@myatllaw.com,
myecfcalendar@gmail.com;myatllaw@gmail.com;info@myatllaw.com;notices@nextchapterbk.com;Slo
mkaTR74878@notify.bestcase.com
Mallory Velten mallory.velten@brockandscott.com,
gabkr@brockandscott.com;wbecf@brockandscott.com

    I further certify that on this day I caused a copy of this document to be served via United
States First Class Mail with adequate postage prepaid on the following parties set forth below at
the address shown for each.

DEBTOR :

ERIK A MIRANDA
1202 INDIAN WAY
LILBURN, GA 30047
 Case 14-74944-lrc      Doc 65    Filed 10/24/19 Entered 10/24/19 07:47:49   Desc
                                        Page 4 of 6




Respectfully Submitted October 24, 2019.

/s/ MELISSA J. DAVEY
MELISSA J. DAVEY
STANDING CHAPTER 13 TRUSTEE
STATE BAR NO. 206310
Standing Chapter 13 Trustee
260 PEACHTREE STREET N.W.
SUITE 200
Atlanta, GA 30303
(678)510-1444
  Case 14-74944-lrc       Doc 65    Filed 10/24/19 Entered 10/24/19 07:47:49          Desc
                                          Page 5 of 6


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                           )
                                                 ) CHAPTER 13
ERIK A MIRANDA                                   )
                                                 ) CASE NO.: 14-74944-LRC
         DEBTOR                                  )
                                                 )

                         DEBTOR'S 11 U.S.C. § 1328 CERTIFICATE

        This Certificate must be completed and filed with the Court in order for each debtor to
receive a discharge. In joint cases, separate Certificates must be completed and signed by
each debtor. This Certificate should be filed with the Court by the Debtor or by their attorney
after the debtor has completed all payments (as required by the Plan or as specified by order of
the Court.)

       I declare under penalty of perjury that the information provided in this Notice is
true and correct.

A. Appropriate Box Must Be Checked:

         1. During the time this bankruptcy case has been pending, I have not been required to
            pay a domestic support obligation (such as child support, maintenance or alimony) by
            any order of a court or administrative agency or by any statute.

         2. During the time this bankruptcy case has been pending, I have paid all domestic
            support obligations (such as child support, maintenance or alimony) as required under
            any order of a court or administrative agency or under any statute.

         3. During the time this bankruptcy case has been pending, I have not paid all domestic
            support obligations, such as child support, maintenance or alimony, as required by an
            order of a court or administrative agency or by statute.
 Case 14-74944-lrc       Doc 65     Filed 10/24/19 Entered 10/24/19 07:47:49          Desc
                                          Page 6 of 6


      If you were obligated to pay a domestic support obligation, please complete the
information below. If not, skip to paragraph B.

        The name and address of each holder of a domestic support obligation are:

        Name:__________________________             My Current Address:
        Address:________________________            ______________________________
        _______________________________             ______________________________
        _______________________________             ______________________________
        _______________________________


        My Current Employer is:
        Name:________________________________
        Address:______________________________
        _____________________________________
        _____________________________________



B.      1. I have NOT received a discharge in a Chapter 7, 11 or 12 bankruptcy case filed
           within four (4) years prior to filing this case.

        2. I have received a discharge in a Chapter 7, 11 or 12 bankruptcy case filed within four
           (4) years prior to filing this case.

C.      1. I have NOT received a discharge in another Chapter 13 bankruptcy case filed within
           two (2) years prior to filing this case.

        2. I have received a discharge in another Chapter 13 bankruptcy case filed within two
           (2) years prior to filing this case.

       By signing this Notice, I acknowledge that all of the statements contained herein are
true and accurate and that the Court may rely on the truth of each of these statements in
determining whether to grant me a discharge in this case. The Court may revoke my
discharge if my statements are not accurate.


DATE:                                             /s/
                                                  Debtor
